
In re: Leo J. Muller, Sr., applying for supervisory and remedial writs. Parish of Orleans.
Granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a Writ of Certiorari issued herein, directing the Honorable Bernard J. Bagert, Sr. Judge of the Criminal District, Court for the Parish of Orleans, to transmit -to the Supreme Court of Louisiana, on or before the 13th day of February, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be fixed by this court, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
